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                 4                                 UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                     ***
                 7       UNITED STATES OF AMERICA,                             Case No. 2:13-CR-18 JCM (GWF)
                 8                                             Plaintiff(s),                    ORDER
                 9              v.
               10        LEON BENZER, et al.,
               11                                            Defendant(s).
               12
               13              Presently before the court                                             motion for joinder
               14       to defendant                                                            s summary of sentencing
               15       evidence and witnesses
               16                                                                   Good cause appearing, the court will
               17       grant the motions.
               18              Accordingly,
               19              IT IS HERE
               20       motion for joinder, (doc. # 628), be, and the same hereby is, GRANTED.
               21
               22       and the same hereby is, GRANTED.
               23              DATED June 16, 2015.
               24
               25                                             ___________________________________________
               26                                             UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
